AO 245B (Rev. 69/08) Judgment in a Criminal Case
Sheet }

UNITED STATES DISTRICT COURT

EASTERN District of NEW YORK

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. )
JOHN DIPPOLITO j
) Case Number: CR-96-965
) USMNumber: = 47437-053
)
j DEVERAUX CANNICK
Defendant's Attorney
THE DEFENDANT: FILED
. IN CLERK'S OFFICE
X pleaded guilty to count(s) TWO OF SPSDG INDICTMENT oo US DISTRICT COURTED.NY.
O pleaded nolo contendere to count(s) a _ ee ai JUN. 29 200 *.
which was accepted by the court.
C) was found guiltyon counts) woes Sn ee BRO OKEYN-OFFIGE-- —
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
21:846 CONSP TO & POSSESS W/ INTENT TO DIST COCAINE 10/1/96 $2
The defendant is sentenced as provided in pages 2 through 4 __ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
[) The defendant has been found not guilty on count(s) BS oe
X Count(s) RMG a O is Xare dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

MAY 28, 2010 _

Date of-tryposition of Judgment

s/Edward R. Korman

cee ce -—-y
Signature of Judge

Name and Title of Judge

‘Date
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AO 245B (Rev. 09/08) Judgment in Criminal Case
Sheet 2 — Imprisonment

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DEFENDANT: JOHN DIPPOLITO
CASE NUMBER: CR-96-965

IMPRISONMENT

he the United States Bureau of Prisons to be imprisoned for a
total term of:

TIME SERVED.

(] The court makes the following recommendations to the Bureau of Prisons:

C) The defendant is remanded to the custody of the United States Marshal.

The defendant shail surrender to the United States Marshal for this district:
OO at | UO am. L] pm. on

L} as notified by the United States Marshal.

C) The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
before 2 p.m. on

C as notified by the United States Marshal.

Cas notified by the Probation or Pretrial Services Office.

RETURN
| have executed this judgment as follows:
Defendant delivered on _ to
a , with a certified copy of this judgment.
| UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL __
AO245B (Rev. 09/08) Judgment in a Criminal Case
Sheet 3 --- Supervised Release

Judgment—Page 3. of 4

DEFENDANT: JOHN DIPPOLITO
CASE NUMBER: CR-96-965

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :

Five (5) Years - Un-supervised.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

[]_ The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, ef seq.)

as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
works, is a student, or was convicted of a qualifying offense. (Check, ifapplicable.)

x
(= The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
C

(1 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shail not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shal! support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shail not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shail notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.

AO 2455 (Rev, 09/08) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment — Page _ 4 off 4
DEFENDANT: JOHN DIPPOLITO
CASE NUMBER: CR-96-965
CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
Assessment Fine Restitution
TOTALS $ 100 $ $
C1 The determination of restitution is deferred until _ _ An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
(The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partia] payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(), ail nonfedera! victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ Se $

C1 Restitution amount ordered pursuant to plea agreement $

(]__ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(the interest requirement is waived for the C1 fine [) restitution.

(the interest requirement for the Oo fine ( restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 1 10A, and 113A of Titie 18 for offenses comm itted on or after
September 13, 1994, but before April 23, 1996.

